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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
__________________________________________
                                           :
RYANAIR DAC,                               :
                                           : C.A. No. 1:20-cv-01191-WCB
                        Plaintiff,         :
                                           :
            v.                             :
                                           :
BOOKING HOLDINGS INC.,                     :
BOOKING.COM B.V., KAYAK SOFTWARE           :
CORPORATION, PRICELINE.COM LLC,            :
and AGODA COMPANY PTE. LTD.,               :
                                           :
                        Defendants.        :
__________________________________________:

                                    NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on the 20th day of May 2024, Plaintiff, Ryanair DAC, served

Plaintiff, Ryanair DAC’s Seventh Supplemental and Amended Responses to Defendants' First Set

of Interrogatories the below-listed counsel of record via electronic mail:
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Dated: May 20, 2024                       KRATZ & BARRY LLP

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